      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 1 of 28




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION
____________________________________
                                     )
PAULA BRAZIL,                        )
                                     )
     Plaintiff,                      )
                                     )
v.                                   )   CIVIL ACTION
                                     )   FILE NO: 4:15-CV-00204-HLM
JANSSEN RESEARCH &                   )
DEVELOPMENT LLC, et al.              )
                                     )
     Defendants.                     )
                                     )

            DEFENDANTS’ MEMORANDUM IN SUPPORT OF
             MOTION TO DISMISS AMENDED COMPLAINT

      This is a product liability action concerning Invokana—a prescription

medication approved by the Food and Drug Administration (“FDA”) for the

treatment of Type 2 diabetes.      Plaintiff alleges that she developed diabetic

ketoacidosis as a result of using Invokana. She asserts six claims against Janssen

Pharmaceuticals, Inc., (“Janssen”), Janssen Research & Development, LLC

(“JRD”), Janssen Ortho, LLC (“Ortho”), and Mitsubishi Tanabe Pharma

Corporation (“Mitsubishi”).

      The Court previously dismissed Plaintiff’s claims on the grounds that they




                                        1
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 2 of 28




were insufficiently pled.1 See Doc. 20 (Mar. 24, 2016). Plaintiff’s Amended

Complaint does not cure all the pleading deficiencies that led the Court to dismiss

her claims. Nor does it cure other failures discussed in the initial Motion to

Dismiss filed by Defendants Janssen, JRD, and Ortho. See Doc. 10–1 (Jan. 7,

2016). As explained below, the Court should dismiss Plaintiff’s amended claims

as against Janssen, JRD, and Ortho for failure to state a claim under Federal Rule

of Civil Procedure 12(b)(6). 2

      First, Plaintiff’s amended claims do not meet the plausibility standard set

forth in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal,

556 U.S. 662 (2009). Her claims collectively are premised on alleged defects in

Invokana’s design and warnings. But Plaintiff still does not plead sufficient facts

to support a plausible claim.

      Second, Plaintiff’s design defect-based claims against JRD (Counts 1, 2, and

4) are preempted by federal law to the extent they are based on a failure to change

Invokana’s chemical design.       When the Court dismissed Plaintiff’s initial

Complaint, it held that Plaintiff’s claims were not preempted because, under


1 The Court also dismissed Plaintiff’s claims against Johnson & Johnson based on
lack of personal jurisdiction.
2Plaintiff still has not served Mitsubishi. This motion is therefore not brought on
behalf of Mitsubishi.


                                        2
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 3 of 28




Georgia law, Plaintiff could pursue her claims on a failure-to-warn theory. This

Motion does not challenge that aspect of the Court’s ruling. Instead, consistent

with the Court’s ruling, Defendants seek dismissal of Plaintiff’s claims against

JRD only to the extent they are based on a failure to change Invokana’s chemical

design.3 As demonstrated by two recent cases that the Court did not have an

opportunity to consider when it dismissed Plaintiff’s initial Complaint, those

claims plainly are preempted by federal law and subject to dismissal

notwithstanding that the Court has allowed Plaintiff to pursue failure-to-warn-

based design claims. See Barcal v. EMD Serono, Inc., 2016 WL 1086028 (N.D.

Ala. Mar. 21, 2016); Batoh v. McNeil-PPC, Inc., --- F. Supp. 3d ---, 2016 WL

922779 (D. Conn. Mar. 10, 2016).

      Third, the Court should dismiss all of Plaintiff’s claims as against Ortho

because they too are preempted by federal law. Plaintiff’s claims against Ortho are

premised on an alleged failure to properly label Invokana. Federal law, however,

permits only the holder of a New Drug Application (“NDA”) to change the

labeling of an FDA-approved prescription drug. Here, Janssen holds the NDA for

Invokana. Because Ortho does not hold the NDA, it had no authority to change the


3Plaintiff has alleged design defect-based claims only against JRD and Mitsubishi.
As explained, Plaintiff has not yet served Mitsubishi.


                                        3
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 4 of 28




drug’s labeling. All of Plaintiff’s claims against Ortho are therefore preempted.

I.    BACKGROUND.

      Following the dismissal of her initial Complaint, Plaintiff filed her Amended

Complaint on April 14, 2016. She asserts claims for strict liability (Count 1),

design defect (Count 2), failure to warn (Count 3), negligence (Count 4), violation

of the Fair Businesses Practices Act (Count 5), and punitive damages (Count 6).

      Plaintiff alleges that she started taking Invokana on October 21, 2013 and

that, as a result, she developed diabetic ketoacidosis on or about November 3,

2013. See Am. Compl. ¶¶ 4–5, 31–32. Though Plaintiff also alleges that Invokana

can cause kidney failure (see id. ¶¶ 20, 34), she does not claim to have experienced

that condition.

      Plaintiff sues Janssen and Ortho for their alleged role in the manufacture,

marketing, advertising, distribution, promotion, labeling and sale of Invokana. See

Am. Compl. ¶¶ 8, 9, 12, 35, 37, 42, 44, 59, 78. By contrast, she sues JRD and

Mitsubishi for their alleged role in the research, design and testing of the drug. See

id. ¶¶ 7, 10, 12, 35, 37, 44, 52, 78. Consistent with these allegations, Plaintiff

asserts her failure-to-warn and Fair Business Practices Act claims (Counts 3 and 5)

against Janssen and Ortho only. Similarly, she asserts her design defect claim

(Count 2) against JRD and Mitsubishi only. Although Plaintiff asserts her strict



                                          4
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 5 of 28




liability and negligence claims (Counts 1 and 4) against all Defendants, these

claims are based on the theory that Janssen and Ortho are responsible for a failure

to warn whereas JRD and Mitsubishi are responsible for a failure to properly

design Invokana. See id. ¶ 44 (alleging in Count 1 that Janssen and Ortho “failed

to warn and place adequate warnings and instructions” on Invokana whereas JRD

and Mitsubishi “failed to adequately research, design, and test” the drug); ¶ 77

(alleging in Count 4 that Janssen and Ortho “failed to exercise reasonable care in

the marketing, advertising, and labeling” of Invokana whereas JRD and Mitsubishi

“failed to exercise reasonable care in the design” of the drug).

II.   ARGUMENT.

      The Court should dismiss the Amended Complaint for the reasons below.

      A.     The Court Should Dismiss All Of Plaintiff’s Claims Because They
             Still Are Insufficiently Pled.
      Dismissal of claims is appropriate under Rule 12(b)(6) when a plaintiff fails

to allege facts sufficient “to raise a right to relief above the speculative level” or

fails to “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555–56, 570 (2007).

      A claim is plausible only if the plaintiff “pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. at 678. Where a complaint pleads facts that are “merely


                                          5
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 6 of 28




consistent with a defendant’s liability, it stops short of the line between possibility

and plausibility of entitlement to relief.” Id. (internal quotation marks omitted).

Further, although a court generally must accept well-pleaded facts as true on a

motion to dismiss, this principle does not apply to legal conclusions, conclusory

allegations, or unwarranted factual inferences. See id. (“Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not

suffice.”); Twombly, 550 U.S. at 555 (explaining that plaintiff’s obligation to

provide the grounds of her entitlement to relief “requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not

do”); Chandler v. Sec’y of Fla. Dep’t of Transp., 695 F.3d 1194, 1199 (11th Cir.

2012) (explaining that courts need not accept legal conclusions as true).

           1.       Plaintiff’s strict liability claim (Count 1) fails.
      To state a claim for strict liability, a plaintiff must show (1) the defendant

manufactured the product; (2) the product, when sold, was not merchantable and

reasonably suited to its intended use; and (3) the product’s defective condition

proximately caused the plaintiff’s injury. See Doc. 20 at 42 (citing O.C.G.A. § 51–

1–11(b); Chicago Hardware & Fixture Co. v. Letterman, 510 S.E.2d 875, 877 (Ga.

App. 1999)). Under Georgia law, a product may be defective in its manufacture,

design, or warnings. See id. Here, Plaintiff has failed to plead sufficient facts to



                                           6
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 7 of 28




state a plausible claim under any theory.

                    a.    Plaintiff has not pled a plausible manufacturing
                          defect claim.
      To prevail on a manufacturing defect claim, a plaintiff must show that the

product deviated from the manufacturer’s specifications and the defect proximately

caused her injury. See Jones v. Amazing Prods., Inc., 231 F. Supp. 2d 1228, 1236

(N.D. Ga. 2002). The Court dismissed Plaintiff’s initial strict liability claim in part

because Plaintiff did not allege “any specific . . . manufacturing defect” and did

“not tie[]” her claimed injury to any such defect. Doc. 20 at 44–45. Plaintiff’s

amended allegations do nothing to cure those deficiencies. Instead, Plaintiff again

alleges simply that Invokana was defective “as . . . manufactured.” Am. Compl. ¶¶

38, 44. Nowhere in her Amended Complaint, however, does Plaintiff allege how

the drug supposedly deviated from its intended design or how any manufacturing

defect caused her purported injuries. Thus, her claim remains insufficiently pled.

See Doc. 20 at 44–45; see also Henderson v. Sun Pharms. Indus., Ltd., 2011 WL

4024656, at *5 (N.D. Ga. June 9, 2011) (Murphy, J.) (dismissing claim where

plaintiff did not allege specific manufacturing defect proximately caused injury);

Moore v. Mylan Inc., 840 F. Supp. 2d 1337, 1344–45 (N.D. Ga. 2011) (similar).

                    b.    Plaintiff has not pled a plausible design defect claim.

      The existence of a defect is “an essential element” of a products liability


                                            7
       Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 8 of 28




claim. Udoinyion v. Michelin N. Am., Inc., 721 S.E.2d 190, 193 (Ga. Ct. App. Dec.

8, 2011). A design defect claim is therefore deficient “if it fails to allege a specific

design . . . defect.” Coney v. Mylan Pharms., Inc., 2012 WL 170143, at *6 (S.D.

Ga. Jan 19, 2012).

      The Court dismissed Plaintiff’s initial strict liability claim in part because

Plaintiff did not allege “any specific design . . . defect” and did “not tie[]” her

claimed injury to any such defect. Doc. 20 at 44–45. Again, Plaintiff’s amended

allegations do nothing to cure those deficiencies. Plaintiff alleges simply that

Invokana is defective because it “prohibit[s] glucose absorption in the kidneys and

caus[es] overproduction of acids (i.e., ketones) in some patients’ blood, leading to

ketoacidosis.” Am. Compl. ¶ 34. But these are the precise allegations that the

Court already found insufficient to state a plausible claim. Compare Compl. ¶¶ 15,

17 (alleging that Invokana and other SGLT2 inhibitors “are designed to work by

blocking reabsorption of glucose by the kidney” and that these drugs cause diabetic

ketoacidosis by leading to “high levels of acid accumulating in the blood”), and

Doc. 18 (Feb. 10, 2016) at 12 (arguing that allegations in paragraphs 13 through 24

of initial Complaint show that Plaintiff has pled a plausible strict liability claim),

with Doc. 20 at 44 (“Plaintiff . . . has not alleged any specific design . . . defect.

While Plaintiff has pleaded facts that Invokana may cause diabetic ketoacidosis,



                                           8
       Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 9 of 28




Plaintiff has not tied that harm to any design . . . defect.”).

      The Court was on firm ground when it dismissed Plaintiff’s initial claim.

See Henderson, 2011 WL 4024656, at *5 (dismissing claim because while plaintiff

alleged that drug risks exceeded benefits, he failed to allege “any specific design . .

. defect that proximately caused” his injuries); Coney, 2012 WL 170143, at *6

(similar); Moore, 840 F. Supp. 2d at 1344–45 (similar); Goodson v. Boston

Scientific, 2011 WL 6840593, at *4 (N.D. Ga. Dec. 29, 2011) (similar).

      In addition, the Eastern District of Louisiana recently dismissed a virtually

identical design defect claim in another Invokana case, finding that the plaintiff

there “merely recite[d] the elements of a defective design claim” and “fail[ed] to

plead or support how Invokana’s design is defective, in what way Invokana could

have remedied the defect, or how the alleged defect caused her particular injuries.”

Guidry v. Janssen Pharms., Inc., 2016 WL 633673, at *4 (E.D. La. Feb. 17, 2016).

      This Court should re-affirm its earlier Order, should follow Guidry and the

other authorities discussed above, and should dismiss Plaintiff’s amended strict

liability claim insofar as it is premised on an alleged defect in Invokana’s design.

                    c.     Plaintiff has not pled a plausible failure-to-warn
                           claim.
      To succeed on a failure-to-warn claim, a plaintiff must prove that (1) the

manufacturer failed to provide her prescribing physician with adequate warnings


                                            9
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 10 of 28




about risks of which it knew or should have known, and (2) the inadequate warning

proximately caused her injuries. See, e.g., Dietz v. Smithkline Beecham Corp., 598

F.3d 812, 815 (11th Cir. 2010); McCombs v. Synthes (U.S.A.), 587 S.E.2d 594, 595

(Ga. 2003). Despite amending her initial Complaint, Plaintiff still fails to plead a

plausible claim.

      As an initial matter, Plaintiff’s claim fails to the extent it is premised on a

failure to warn about a purported risk of kidney failure. As the court in Guidry

recently confirmed, a plaintiff cannot premise a claim on a failure to warn about a

risk that did not materialize. See 2016 WL 633673, at *4 (dismissing claim

premised on failure to warn about risk of ketoacidosis because plaintiff did not

experience that condition). Many other courts have reached the same conclusion.4

Because Plaintiff does not allege that she experienced kidney failure, she cannot

4  See, e.g., Mills v. United States, 764 F.2d 373, 379 (5th Cir. 1985) (“[A]
determination that warnings were inadequate with respect to some other condition
does not bear on our conclusion that [decedent] was adequately informed of the
risk . . . .”); Austin v. Bayer Pharms. Corp., 2013 WL 5406589, at *7 (S.D. Miss.
Sept. 25, 2013) (“Plaintiff failed to state a claim for the failure to warn of side
effects which Plaintiff did not suffer, such as perforation, migration, or ectopic
pregnancy. If Plaintiff did not suffer from those conditions, Defendant’s failure to
warn of them did not cause any injury.”); Mason v. Smithkline Beecham Corp.,
2010 WL 2697173, at *5 n.3 (C.D. Ill. July 7, 2010) (“[A] warning is only
inadequate if it fails to list risks or side effects that do occur.”); In re Fosamax
Prods. Liab. Litig., 2010 WL 1257299, at *5 (S.D.N.Y. Mar. 26, 2010) (“Plaintiff
cannot establish proximate cause without evidence that [defendant] fail[ed] to warn
of the specific risk that . . . materialized . . . .”).


                                         10
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 11 of 28




base her claim on a purported failure to warn about that risk.5

      Plaintiff’s claim also fails to the extent it is premised on an alleged failure to

warn her prescribing physician about a purported risk of diabetic ketoacidosis. See

Am. Compl. ¶¶ 58–59. In particular, Plaintiff still does not allege any facts to

support a reasonable inference that Defendants had a duty to warn about that

purported risk.

      Under Georgia law, a manufacturer has a duty to warn only about risks of

which it knew or should have known before the plaintiff’s injury. See O.C.G.A. §

51–1–11(c). Although Plaintiff alleges that Janssen and Ortho knew or should

have known about a risk of diabetic ketoacidosis at the time she used Invokana

(see Am. Compl. ¶ 68), that formulaic allegation is a mere legal conclusion. The

Court need not and should not accept it as true. See Twombly, 550 U.S. at 555


5  In any event, the Prescribing Information for Invokana did warn about a risk of
kidney failure. See http://www.accessdata.fda.gov/drugsatfda_docs/label/2013/
204042s000lbl.pdf (last visited May 15, 2016) (warning in Section 5.3 that “renal
function abnormalities can occur after initiating” Invokana and warning further in
Section 6.1 that “[u]se of canaglifozin was associated with an increased incidence
of renal-related adverse reactions (e.g., increased blood creatinine, . . . renal
impairment, and acute renal failure)”). Not surprisingly, the Guidry court rejected
a claim premised on an alleged failure to warn about a risk of kidney failure. See
2016 WL 633673, at *4 & n.9 (finding that plaintiff failed to “provide any factual
basis for her claim that the defendants failed to adequately warn of acute kidney
injury and acute kidney failure” and that “the Prescribing Information of Invokana
. . . does contain warnings of renal-related adverse effects” (emphasis added)).


                                          11
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 12 of 28




(explaining that plaintiff’s obligation to provide the grounds of her entitlement to

relief “requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do”); Chandler, 695 F.3d at 1199 (explaining

that courts need not accept legal conclusions as true).

      Missing from Plaintiff’s Amended Complaint are any facts to substantiate

her conclusory allegation. In fact, Plaintiff acknowledges that it was not until May

15, 2015—i.e., 19 months after she allegedly was injured on November 3, 2013—

that the FDA advised that diabetic ketoacidosis may be a complication of Invokana

and other SGLT2 inhibitors. 6 See Am. Compl. ¶ 17. Plaintiff’s allegations about

the timeline of changes to Invokana’s Prescribing Information (see id. ¶¶ 62–67)

do not change the fact that her alleged injury occurred 19 months before the FDA

issued its advisory. Because Plaintiff has not sufficiently alleged that Janssen and

6 The FDA’s advisory was based on 20 adverse events reported in patients treated
with various SGLT2 inhibitors between March 2013 and June 2014. See Am.
Compl. ¶ 18. Plaintiff does not allege how many of these anecdotal reports (if any)
involved patients treated with Invokana before she allegedly was injured.
Moreover, anecdotal adverse event reports such as those identified in the FDA’s
advisory do not and cannot establish causation. See McClain v. Metabolife Int’l,
Inc., 401 F.3d 1233, 1254 (11th Cir. 2005) (“Simply stated, case reports raise
questions; they do not answer them.”); Rider v. Sandoz Pharms. Corp., 295 F.3d
1194, 1199 (11th Cir. 2002) (“[C]ase reports alone ordinarily cannot prove
causation.”); Soldo v. Sandoz Pharms. Corp., 244 F. Supp. 2d 434, 537 (W.D. Pa.
2003) (“[T]he great weight of authority—and the most current authority—squarely
rejects the use of ADEs [i.e., adverse drug experiences] and case reports for the
purpose of establishing general causation.”) (collecting authority).


                                          12
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 13 of 28




Ortho knew or should have known about a risk of diabetic ketoacidosis before her

alleged injury, the Court should dismiss her claim. See also Stupak v. Hoffman-La

Rouche, Inc., 326 F. App’x 553, 560 (11th Cir. 2009) (holding that 17 case reports

were “insufficient to establish that Roche knew or show have known that Accutane

could cause suicide without symptoms”); Rodriguez v. Stryker Corp., 680 F.3d

568, 572 (6th Cir. 2012) (disposing of failure-to-warn claim where medical

literature did not support conclusion that risk of chondrolysis was knowable at time

of plaintiff’s surgery); Smith v. Peddinghaus Corp., 2007 WL 2484315, at *5

(N.D. Ga. Aug. 29, 2007) (same, where plaintiff failed to show that defendant

“knew or constructively knew of danger at the time of the sale”). 7

      Finally, although Plaintiff alleges that her physician was unaware of a

potential risk of diabetic ketoacidosis (see Am. Compl. ¶ 69), she still does not

allege that her physician would have made a different prescribing decision had he

received an adequate warning. Thus, Plaintiff has failed to sufficiently plead that a

defect in Invokana’s Prescribing Information proximately caused her alleged

7 Although the Guidry court suggested in dicta that the FDA’s May 15, 2015
advisory might support a failure-to-warn claim, the court did not have occasion to
consider the argument that Defendants make here because the plaintiff’s claim in
Guidry was premised on an alleged kidney injury, not diabetic ketoacidosis. See
2016 WL 633673, at *4. In any event, as the Guidry court noted, an allegation that
is “merely consistent” with a defendant’s liability is insufficient under Twombly-
Iqbal. Id.


                                         13
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 14 of 28




injury. See Deitz, 598 F.3d at 816 (explaining that plaintiff could not demonstrate

allegedly inadequate warning proximately caused her injury where physician

testified that he still would have prescribed drug despite adequate warning); Jones

v. Sofamor S.N.C., 1999 WL 1062103, at *7 (N.D. Ga. Apr. 29, 1999) (explaining

that where learned intermediary “would have taken the same course of action even

with the information the plaintiff contends should have been provided, . . . the

causal link is broken and the plaintiff cannot recover”).

           2.      Plaintiff’s design defect claim (Count 2) fails.

      Plaintiff’s design defect claim fails for the same reasons as the design defect

component of her strict liability claim. Thus, the Court should dismiss Count 2.

      Count 2 also fails for an additional, independent reason—it is directed to the

wrong Defendants. When the Court dismissed Plaintiff’s initial Complaint, it held

that Plaintiff’s design defect claims were not preempted because, under Georgia

law, Plaintiff could pursue her claims on a failure-to-warn theory. See Doc. 20 at

76 (“State law claims, including a design defect claim, requiring a brand name

drug manufacturer to provide a more robust warning are therefore not

preempted.”). But Count 2 is directed only against JRD and Mitsubishi—i.e.,

defendants that, according to Plaintiff’s own allegations, were involved in the

research, design, and testing of Invokana but not its labeling. See Am. Compl. ¶¶



                                          14
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 15 of 28




7, 10, 12, 35, 37, 44, 52, 78. According to Plaintiff’s amended allegations, only

Janssen and Ortho are responsible for Invokana’s labeling. See id. ¶ 12 (alleging

that Janssen and Ortho “labeled” Invokana); ¶ 35 (same); ¶ 44 (alleging that

Janssen and Ortho “failed to warn and place adequate warnings and instructions on

Invokana”); ¶¶ 59, 78 (similar). Consistent with these allegations, Plaintiff directs

her failure-to-warn claim (Count 3) only against Janssen and Ortho. Because the

Court allowed Plaintiff’s design claims to proceed on a failure-to-warn theory, and

because Plaintiff does not allege that JRD is responsible for the drug’s labeling, the

Court can and should dismiss Count 2 as to JRD for this additional reason.

           3.      Plaintiff’s failure-to-warn claim (Count 3) fails.

      Plaintiff’s failure-to-warn claim fails for the same reasons as the failure-to-

warn component of her strict liability claim.       Accordingly, the Court should

dismiss Count 3. Accord Brown v. Roche Labs., Inc., 567 Fed. App’x 860, 863

(11th Cir. 2014) (affirming dismissal of negligent misrepresentation claim because

it was “merely a reframing” of failure-to-warn claim); Doc. 20 at 54–55

(dismissing Plaintiff’s negligent misrepresentation claim in part on grounds that it

was duplicative of failure-to-warn claim).

           4.      Plaintiff’s negligence claim (Count 4) fails.

      Like her strict liability claim, Plaintiff’s negligence claim is premised on an



                                         15
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 16 of 28




alleged failure to properly design, manufacture and label Invokana. See Am.

Compl. ¶¶ 77–78. Her negligence claim therefore fails for the same reasons as her

strict liability claim.   Accord 567 Fed. App’x at 863; Doc. 20 at 54–55.

Accordingly, the Court should dismiss Count 4.

           5.       Plaintiff’s consumer protection claim (Count 5) fails.

      The Court dismissed Plaintiff’s initial consumer protection claim because it

found that her allegations “amount merely to restating the elements of the cause of

action without any factual support.” Doc. 20 at 55–56. Plaintiff has done nothing

to cure the deficiencies that led the Court to dismiss her claim. Indeed, the

allegations that underlie Plaintiff’s amended claim are precisely the same as those

of her initial claim. Compare Am. Compl. ¶¶ 12–32, 83–90, with Compl. ¶¶ 13–

32, 114–23. In other words, nothing has changed. Thus, the Court should dismiss

Plaintiff’s amended claim for the same reason that it dismissed her initial claim.

See also Barge v. Bristol-Myers Squibb Co., 2009 WL 5206127, at *11 (D.N.J.

Dec. 30, 2009) (dismissing claim under Georgia’s Fair Business Practices Act

because plaintiff did not identify allegedly deceptive materials or allege that any

deceptive act influenced his physician’s prescribing decision).

           6.       Plaintiff’s punitive damages claim (Count 6) fails.

      Finally, because Plaintiff fails to plead a plausible claim, her derivative



                                         16
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 17 of 28




claim for punitive damages also fails. See D.G. Jenkins Homes, Inc. v. Wood, 582

S.E.2d 478, 482 (Ga. Ct. App. 2003). In addition, her claim is insufficiently pled

because she does not allege “facts that, if true, would demonstrate the referenced

elements required for the award of punitive damages under Ga. Code Ann. § 51–

12–5.1(b).” Taylor v. Miller Coors, LLC, 2014 WL 4179918, at *1 (M.D. Ga.

Aug. 20, 2014). Plaintiff alleges that Janssen and Ortho intentionally and willfully

“misrepresented and downplayed the risks of serious injuries” associated with

Invokana. Am. Compl. ¶ 94. And she alleges that JRD and Mitsubishi’s design

and testing “was committed with wanton and willful disregard for the rights and

safety of consumers, including Plaintiff.” Id. ¶ 96. But she does not provide any

factual support for those conclusory allegations. Thus, her claim is not plausible.

See Henderson, 2011 WL 4024656, at *8; Moore, 840 F. Supp. 2d at 1353.

      B.    In Addition To Being Insufficiently Pled, Plaintiff’s Design
            Defect-Based Claims (Counts 1, 2 and 4) Are Preempted By
            Federal Law.
      When the Court dismissed Plaintiff’s initial Complaint, it held that

Plaintiff’s design claims were not preempted because, under Georgia law, Plaintiff

could pursue her claims on a failure-to-warn theory. See Doc. 20 at 67; see also id.

at 75–76. This Motion does not challenge that aspect of the Court’s ruling—i.e.,

Defendants do not seek the dismissal of Plaintiff’s design claims to the extent they



                                        17
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 18 of 28




are premised on an alleged failure to warn. Instead, consistent with the Court’s

ruling, Defendants seek dismissal of Plaintiff’s design claims against JRD only to

the extent they are based on a failure to change Invokana’s chemical design.

       It is apparent from the Amended Complaint that Plaintiff is seeking to

advance design claims that are premised not just on a failure to warn, but also on a

failure to change the chemical design of Invokana. Compare Am. Compl. ¶ 37

(alleging that Defendants are liable because Invokana “was defective in design or

formulation in that . . . the foreseeable risks exceeded the benefits associated with

its design or formulation”), and ¶¶ 51–52 (alleging that Invokana “is defectively

designed because it is capable of causing serious medical conditions, such as

kidney failure and ketoacidosis” and is “more dangerous than other drugs”), with

id. ¶ 54 (alleging alternatively that the “design is also defective in that it . . . fails to

adequately warn that it causes ketoacidosis” (emphasis added)).                Indeed, the

Amended Complaint is littered with allegations demonstrating that Plaintiff intends

to pursue claims premised on JRD and Mitsubishi’s alleged underlying failure to

have produced a drug with a safer risk-benefit profile.8



8See Am. Compl. ¶ 44 (alleging that Invokana was “defectively designed” by JRD
and Mitsubishi because they “failed to adequately research, design, and test” the
drug); ¶ 52 (alleging Invokana was defectively designed by JRD and Mitsubishi
because the drug is “more dangerous than other drugs which are designed to treat


                                             18
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 19 of 28




      While the Court held that Plaintiff may pursue design claims premised on an

alleged failure to warn, it did not give Plaintiff permission to pursue claims

premised on a failure to change Invokana’s chemical formulation. As the Court

correctly recognized, the Supreme Court determined in Mutual Pharmaceutical

Co. v. Bartlett, 133 S. Ct. 2466 (2013), that claims of the latter variety cannot

stand. See Doc. 20 at 67 (“Once a drug—whether generic or brand-name—is

approved, the manufacturer is prohibited from making any major changes to the

‘qualitative or quantitative formulation of the drug product, including active

ingredients, or in the specifications provided in the approved application.’”

(quoting Bartlett, 133 S. Ct. at 2471)); see also Bartlett, 133 S. Ct. at 2479

(holding that “state-law design-defect claims . . . that place a duty on

manufacturers to render a drug safer by . . . altering its composition . . . are in

conflict with federal laws that prohibit manufacturers from unilaterally altering

drug composition”).9



type 2 diabetes”); ¶ 77 (alleging that Invokana “was defective because . . . it
prohibits glucose absorption in the kidneys and causes overproduction of acids
(i.e., ketones) in some patients’ blood, leading to ketoacidosis and kidney failure”);
¶ 78 (alleging that JRD and Mitsubishi “were negligent in . . . researching,
designing, and testing Invokana® by, inter alia, failure to use due care in
developing and testing Invokana® to avoid the aforementioned risks”).
9Because “a drug’s usefulness and its risk of danger are both direct results of its
chemical design,” any change to Invokana’s chemical design as advocated by


                                         19
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 20 of 28




      Moreover, the reasoning in Bartlett is not limited to generic drugs. Instead,

it applies equally to branded drugs like Invokana. As the Northern District of Ohio

recognized in Yates v. Ortho-McNeil Pharm., Inc., 76 F. Supp. 3d 680 (N.D. Ohio

2015), the language from Bartlett that this Court quoted at page 67 of its Order

“establishes that the Supreme Court did not limit its holding in Bartlett to generic

drugs.” Id. at 686. Not surprisingly, the only two Courts of Appeal to have

considered the issue have concluded that the preemption principles in Bartlett and

PLIVA, Inc. v. Mensing, 131 S. Ct. 2567 (2011) apply to branded drugs. See Yates

v. Ortho-McNeil-Janssen Pharms., Inc., 808 F.3d 281, 298–300 (6th Cir. 2015)

(holding that design claims involving branded drug were preempted); In re Celexa

& Lexapro Mktg. & Sales Practices Litig., 779 F.3d 34, 43 (1st Cir. 2015) (holding

that failure-to-warn claim involving branded drug was preempted).

      In fact, after this Court dismissed Plaintiff’s initial Complaint, the Third

Circuit confirmed that the principles in Bartlett and Mensing are not limited to any

pharmaceutical context. See Sikkelee v. Precision Airmotive Corp., --- F.3d ---,

2016 WL 1567236, at *18–*19 (3d Cir. Apr. 19, 2016) (citing Bartlett and


Plaintiff would result in “a new drug that would require its own NDA to be
marketed in interstate commerce.” Bartlett, 133 S. Ct. at 2475 (quoting 21 C.F.R.
§ 310.3(h) (giving examples of when FDA considers a drug to be new, including
cases involving “newness for drug use of any substance which composes such
drug, in whole or in part”)).


                                        20
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 21 of 28




Mensing for proposition that “where manufacturers are unable to simultaneously

comply with both federal and state requirements, state law design defect claims are

conflict preempted[,]” and confirming that “[t]he same considerations apply” to

design defect claims implicating Federal Aviation Administration regulations).10

      Consistent with the reasoning in Yates, In re Celexa, and Sikkelee, multiple

courts have applied Bartlett to find state law design defect claims involving

branded drugs like Invokana are preempted. 11 The Northern District of Alabama

and the District of Connecticut recently decided two additional such cases that this

Court did not have an opportunity to consider when it dismissed Plaintiff’s initial

Complaint. See Barcal v. EMD Serono, Inc., 2016 WL 1086028, at *2, *4 & nn.2,

4 (N.D. Ala. Mar. 21, 2016) (dismissing design defect, implied warranty, and

negligence claims because they “would essentially require EMD Serono to



10See also Wos v. E.M.A. ex rel. Johnson, 133 S. Ct. 1391, 1398 (2013) (applying
Mensing preemption to state law purporting to impose lien on Medicaid
beneficiaries’ tort recoveries); Horseman’s Benevolent & Protective Ass’n-Ohio
Div., Inc. v. DeWine, 666 F.3d 997, 1000–01 (6th Cir. 2012) (holding state law
conflicted with federal statute requiring consent of a horseman’s group to off-track
wagering).
11See Doc. 10–1 (discussing Rheinfrank v. Abbott Labs., Inc., --- F. Supp. 3d ---,
2015 WL 5836973 (S.D. Ohio Oct. 2, 2015); Shah v. Forest Labs., Inc., 2015 WL
3396813 (N.D. Ill. May 26, 2015); Booker v. Johnson & Johnson, 54 F. Supp. 3d
868 (N.D. Ohio 2014); Amos v. Biogen Idec Inc., 28 F. Supp. 3d 164 (W.D.N.Y.
2014); Thompson v. Allergan USA, Inc., 993 F. Supp. 2d 1007 (E.D. Mo. 2014)).


                                        21
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 22 of 28




redesign Serophene” without FDA approval and explaining that “[t]his is precisely

the kind of impossibility in which the Supreme Court has found preemption”);

Batoh v. McNeil-PPC, Inc., 2016 WL 922779, at *1 (D. Conn. Mar. 10, 2016)

(“[B]ecause federal regulations barred the defendants from changing the active

ingredient in Motrin without prior [FDA] approval . . ., federal law prevented the

defendants from complying with the state law duties this lawsuit would impose on

them to alter the chemical composition of Motrin.”).

      Significantly, the plaintiffs in Barcal and Batoh pursued claims that—like

Plaintiff’s claims here—were premised both on a failure to change a branded

drug’s chemical design and a failure to warn about the drug’s purported risks. The

courts reasoned that while the plaintiffs’ claims could proceed on a failure-to-warn

theory, the claims nevertheless were preempted to the extent based on an

underlying failure to change the drugs’ chemical design. See Barcal, 2016 WL

1086028, at *2, *4 & nn.2–4 (dismissing negligence claim as preempted to extent

based on failure to change branded drug’s design even though claim allowed to

proceed on failure-to-warn theory); Batoh, 2016 WL 922779, at *16–*17 (finding

that even though design defect claim was not preempted to extent based on

purported failure to warn, it was preempted to extent based on failure to “alter[] the

chemical composition of Motrin”).



                                         22
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 23 of 28




      The Court should follow Barcal and Batoh and the other authorities

discussed above and should dismiss Plaintiff’s design defect-based claims to the

extent they are premised on a failure to change Invokana’s chemical design. While

the Court has ruled that Plaintiff may pursue design claims premised on an alleged

failure to warn, there is no basis for allowing her to proceed with alternative claims

that are plainly preempted by federal law.

      C.     All of Plaintiff’s Claims Against Ortho Are Preempted.

      Federal law requires FDA approval of a New Drug Application (“NDA”)

prior to marketing a new drug in the United States. The company that owns and

controls the NDA is referred to as the applicant.        See 21 C.F.R. § 314.3(b)

(defining “application” and “applicant”); see also id. § 314.50 (describing NDA

contents). Following the FDA’s approval of a new drug, proposed changes to the

drug’s design, manufacture, or labeling must be submitted to the FDA in the form

of a “supplement” to the NDA. See id. § 314.70(a)(1)(i).12

      Critical to the preemption analysis here is who can submit a supplement to

an approved drug application. Federal law provides a clear answer: “[o]nly the

12 See also FDA Guidance for Industry: Changes to an Approved NDA or ANDA
(April 2004) (describing processes to change approved drug’s manufacturing site,
manufacturing processes, product specifications, container closure system, and
labeling), available at http://www.fda.gov/downloads/drugs/guidancecompliance
regulatoryinformation/guidances/ucm077097.pdf (last visited May 15, 2016).


                                         23
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 24 of 28




applicant” may do so. 21 C.F.R. § 314.71(a); see also id. § 314.70(a)(1)(i) (“[T]he

applicant must notify FDA about the change in a supplement.”). In the case of
                                             13
Invokana, Janssen is the NDA applicant.           Accordingly, federal law prohibits

Ortho from changing Invokana’s design, manufacture, or labeling.

      Addressing an analogous situation, the Sixth Circuit found failure-to-warn

claims against a non-NDA holder preempted. See In re Darvocet, Darvon, &

Propoxyphene Prods. Liab. Litig., 756 F.3d 917, 940 (6th Cir. 2014). In Darvocet,

Eli Lilly & Co. previously had held the NDA for a brand-name drug, sold the NDA

to another company, and then continued manufacturing the drug for a generic

company.    The Sixth Circuit held that failure-to-warn claims against Lilly

involving use of the drug after Lilly sold its NDA were preempted, reasoning that

“[a]fter the divestiture [of the NDA], Lilly had no more power to change the label

than did” generic manufacturers. Id.

      Other courts agree that a defendant’s status as a non-NDA-holder is


13 The FDA’s on-line database shows that Janssen holds the NDA for Invokana.
See http://www.accessdata.fda.gov/scripts/cder/drugsatfda/index.cfm?fuseaction
=Search.Overview&DrugName=INVOKANA (last visited May 15, 2016). Ortho
requests that the Court take judicial notice of this database. See Funk v. Stryker
Corp., 631 F.3d 777, 783 (5th Cir. 2011) (affirming judicial notice of FDA
documents and transcripts granting premarket approval for medical device);
Guidry, 2016 WL 633673, at *4 n.9 (taking judicial notice of Prescribing
Information for Invokana).


                                        24
       Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 25 of 28




determinative. For example, the court in In re Fosamax (Alendronate Sodium)

Prods. Liab. Litig. (No. II), 2012 WL 181411 (D.N.J. Jan. 17, 2012), held that

claims against a distributor were preempted because the distributor could not

change the labeling under federal law. As the court explained, “[t]hat power lies

with the applicant who filed the New Drug Application (NDA) seeking approval to

market Fosamax.” Id. at *3–*4. 14

       Although Ortho manufactures Invokana for Janssen (see supra n.5

(Prescribing Information at p. 35)), Ortho could not independently alter the drug’s

labeling.   Thus, Plaintiff’s claims against Ortho—which are premised on a

purported failure to properly label the drug—are preempted. See Mensing, 131 S.

Ct. at 2579 (“The question for ‘impossibility’ is whether the private party could

independently do under federal law what state law requires of it.”).

III.   CONCLUSION.

       For the foregoing reasons, the Court should grant Defendants’ Motion.




14 See also Stevens v. Cmty. Health Care, Inc., 2011 WL 6379298, at *1 (Mass.
Super. Ct. Oct. 5, 2011) (“As a distributor, . . . DAVA had no ability to change
labeling or warnings and thus . . . cannot be subject to liability in connection with a
state law claim premised on a ‘failure to warn.’”).


                                          25
Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 26 of 28




Respectfully submitted this 16th day of May, 2016.


                                      s/ Christiana C. Jacxsens
                                      Christiana C. Jacxsens
                                      Georgia Bar No. 233912
                                      GREENBERG TRAURIG, LLP
                                      Terminus 200
                                      3333 Piedmont Road, N.E.
                                      Suite 2500
                                      Atlanta, GA 30305
                                      Telephone: (678) 553-2105
                                      Facsimile: (678) 553-2106
                                      jacxsensc@gtlaw.com

                                      Attorneys for Defendants Janssen
                                      Pharmaceuticals, Inc., Janssen
                                      Research & Development, LLC, and
                                      Janssen Ortho LLC




                                 26
      Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 27 of 28




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

____________________________________
                                    )
PAULA BRAZIL,                       )
                                    )
     Plaintiff,                     )
                                    )
v.                                  )              CIVIL ACTION
                                    )              FILE NO: 4:15-CV-00204-HLM
JANSSEN RESEARCH &                  )
DEVELOPMENT LLC, et al.             )
                                    )
     Defendants.                    )
___________________________________

                          CERTIFICATE OF SERVICE

      I hereby certify that on May 16, 2016, I electronically filed the Defendants’

Memorandum in Support of Motion to Dismiss Amended Complaint with the

Clerk of Court using the CM/ECF system, which will automatically send email

notification of such filing to the following counsel of record:

                                  Mark E. Silvey
                                Adam A. Edwards
                             Greg Coleman Law PC
                              First Tennessee Plaza
                           800 S. Gay Street, Suite 1100
                               Knoxville, TN 37929
                           adam@gregcolemanlaw.com
                           mark@gregcolemanlaw.com
                               Counsel for Plaintiff



                                          1
     Case 4:15-cv-00204-HLM Document 25-1 Filed 05/16/16 Page 28 of 28




     This 16th day of May, 2016.

                                    s/ Christiana C. Jacxsens
                                    Christiana C. Jacxsens
                                    Georgia Bar No. 233912

                                    Attorneys for Defendants Janssen
                                    Pharmaceuticals, Inc., Janssen Research &
                                    Development, LLC, and Janssen Ortho LLC



GREENBERG TRAURIG LLP
Terminus 200
3333 Piedmont Rd., NE, Suite 2500
Atlanta, Georgia 30305
Telephone: (678) 553-2105
Facsimile: (678) 553-2106
jacxsensc@gtlaw.com




                                      2
